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 4
                                     UNITED STATES DISTRICT COURT
 5
                                             DISTRICT OF NEVADA
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 7   UNITED STATES OF AMERICA,                 )                    Case No. 2:11-cr-00403-APG-PAL
                                               )
 8                                 Plaintiff,  )                                  ORDER
                                               )
 9   vs.                                       )                        (Mtn to Substitute - Dkt. #127)
                                               )
10   MELISSA MARTINO,                          )
                                               )
11                                             )
                                   Defendant.  )
12   __________________________________________)
13          This matter is before the court on the Motion to Substitute Counsel (Dkt. #127) filed June 4,
14   2013. Lisa Rasmussen seeks leave to be substituted in the place of Karen C. Winkler as counsel for
15   Defendant Melissa Martino. LR IA 10-6 provides that the signature of an attorney to substitute into a
16   case “constitutes an express acceptance of all dates then set for pretrial proceedings, for trial or hearing,
17   by the discovery plan, or in any court order.” LR IA 10-6(d) also provides that the substitution of an
18   attorney “shall not alone be reason for delay of pretrial proceedings, discovery, the trial, or any hearing
19   in this case.” A federal grand jury returned an Indictment (Dkt. #1) against Defendant Martino on
20   November 15, 2011, charging her with one count of possession of stolen guns in violation of 18 U.S.C.
21   § 922(j). Trial is currently scheduled on October 8, 2013. See Order to Continue (Dkt. #123).
22          Having reviewed and considered the matter, and good cause appearing,
23          IT IS ORDERED:
24          1.      The Motion to Substitute (Dkt. #127) is GRANTED.
25          2.      Lisa Rasmussen is substituted in the place of Karen Winkler as counsel for Defendant
26                  Melissa Martino, subject to the provisions of LR IA 10-6(c) and (d).
27          Dated this 12th day of June, 2013.
28                                                  _________________________________________
                                                    PEGGY A. LEEN
                                                    UNITED STATES MAGISTRATE JUDGE
